         Case 1:17-cv-00445-NBF Document 84 Filed 11/08/19 Page 1 of 5




          In the United States Court of Federal Claims
                                       No. 17-445C
                                (Filed: November 8, 2019)
                               NOT FOR PUBLICATION

                                             )
 ELLEN P. BULLOCK,                           )
                                             )      RCFC 59; Reconsideration; Breach of
                       Plaintiff,            )      Alleged Oral Settlement Agreement
                                             )      Before the EEOC
 v.                                          )
                                             )
 THE UNITED STATES,                          )
                                             )
                       Defendant.            )
                                             )

                      ORDER DENYING RECONSIDERATION

       On September 25, 2019, this court granted summary judgment to the United States

in this breach of contract action arising from a claim filed by the plaintiff, Ellen P.

Bullock, against the United States Army (Army), before the Equal Employment

Opportunity Commission (EEOC). Bullock v. United States, No. 17-445C, 2019 WL

4668062, at *1 (Fed. Cl. Sept. 25, 2019). The court determined that any alleged oral

settlement agreement between Ms. Bullock and the Army for, among other terms, the

payment of $70,000 to resolve the EEOC proceedings was not enforceable because it was

not reduced to writing. Id. In reaching this conclusion, the court determined that the

applicable Army regulation, Army Reg. 690-600 ¶ 5-13.g, and EEOC regulation, 29

C.F.R. § 1614.603, require that a settlement agreement before the EEOC must be in

writing and signed by the parties to be valid. Bullock, 2019 WL 4668062, at *4-*5. In
         Case 1:17-cv-00445-NBF Document 84 Filed 11/08/19 Page 2 of 5



this case, it was not disputed that the parties had not executed a written settlement

agreement. Id. at *4. The court further concluded that the circumstances within which

the Federal Circuit has recognized the validity of oral settlement agreements were not

present in this case. Id. at *1, *4-*5. The court noted that oral settlement agreements

have been accepted by the Federal Circuit where the settlement negotiations occurred

before the administrative judge actually adjudicating the case and where the terms of the

settlement agreement were read into the record before the administrative judge. Id. at *4.

       On October 22, 2019, Ms. Bullock filed the pending motion for reconsideration

under Rule 59 of this court’s rules (ECF No. 83), arguing that the court erred in failing to

construe the facts to find the existence of an oral settlement agreement and in holding that

the Army and EEOC regulations precluded an oral settlement agreement. Mot. for

Recons. at 3-10. For the following reasons, Ms. Bullock’s motion for reconsideration is

DENIED.

       Under Rule 59 of the Rules of the United States Court of Federal Claims, the

court, “in its discretion, ‘may grant a motion for reconsideration when there has been an

intervening change in the controlling law, newly discovered evidence, or a need to

correct clear factual or legal error or prevent manifest injustice.” Biery v. United States,

818 F.3d 704, 711 (Fed. Cir. 2016) (quoting Young v. United States, 94 Fed. Cl. 671, 674

(2010)). The Supreme Court has noted that motions for reconsideration “may not be used

to relitigate old matters, or to raise arguments or present evidence that could have been

raised prior to the entry of judgment.” Exxon Shipping Co. v. Baker, 554 U.S. 471, 485

n.5 (2008) (quoting 11 Charles Alan Wright & Arthur R. Miller, Federal Practice and

                                              2
          Case 1:17-cv-00445-NBF Document 84 Filed 11/08/19 Page 3 of 5



Procedure § 2810.1 (2d ed. 1995)); see also Lone Star Indus., Inc. v. United States, 111

Fed. Cl. 257, 259 (2013) (“A Rule 59 motion ‘must be based upon manifest error of law,

or mistake of fact, and is not intended to give an unhappy litigant an additional chance to

sway the court.’” (quoting Fru-Con Constr. Corp. v. United States, 44 Fed. Cl. 298, 300

(1999))); Ammex, Inc. v. United States, 52 Fed. Cl. 555, 557 (2002) (holding that a court

will not grant a motion for reconsideration if the movant merely reasserts arguments

previously made); Lee v. United States, 130 Fed. Cl. 243, 252 (2017), aff’d, 895 F.3d

1363 (Fed. Cir. 2018) (holding that the court will not grant a motion for reconsideration

based on “new arguments that could have been raised earlier”). Rather, “the movant

must point to a manifest (i.e., clearly apparent or obvious) error of law or a mistake of

fact.” Ammex, 52 Fed. Cl. at 557; Lucier v. United States, 138 Fed. Cl. 793, 798-99

(2018).

       Applying these standards, Ms. Bullock’s reconsideration motion must be denied.

Ms. Bullock has not identified an intervening change in the controlling law, newly

discovered evidence, or a need to correct clearly apparent factual or legal error. Rather,

Ms. Bullock first contends that the court should have inferred from the facts presented

that Ms. Bullock and the Army had entered into a binding agreement. Mot. for Recons.

at 3-6. This argument “merely reasserts” arguments previously made in her summary

judgment briefing and cannot serve as grounds for reconsideration. Ammex, 52 Fed. Cl.

at 557 (internal quotation and citation omitted).

       Ms. Bullock also argues that various precedents preclude the court from applying

regulations, such as the Army’s and EEOC’s, to render the alleged oral settlement

                                             3
         Case 1:17-cv-00445-NBF Document 84 Filed 11/08/19 Page 4 of 5



agreement unenforceable. Mot. for Recons. at 6-10. However, Ms. Bullock’s mere

disagreement with the court’s conclusion that the representations exchanged between the

parties before the EEOC mediator did not give rise to a binding agreement under the

Army and EEOC regulations is not grounds for reconsideration. In her original motion

and reply Ms. Bullock failed to address the applicable Army and EEOC regulations

establishing the requirements for a valid EEOC settlement agreement. Bullock, 2019 WL

4668062, at *4. The government in its cross motion for summary judgment expressly

raised the argument that these regulations precluded an enforceable oral settlement

agreement, and Ms. Bullock could have addressed the argument in her reply but did not.1

See id. at *3 (citing Def.’s Cross-Mot. at 9-10, 29-30). Ms. Bullock’s contention on

reconsideration that these regulations cannot bar the enforcement of an oral settlement is

therefore a new argument that should have been raised earlier and cannot serve as a basis

for reconsideration now. See Lee, 130 Fed. Cl. at 252.

       Moreover, besides being forfeited, Ms. Bullock’s argument is without merit. As

the court explained in its opinion, the Federal Circuit has addressed the specific

circumstances when it will enforce an oral settlement agreement, including one arising

from an employment dispute. Bullock, 2019 WL 4668062, at *4-*5 (citing Tiburzi v.

Dep’t of Justice, 269 F.3d 1346 (Fed. Cir. 2001); Brown v. Dep’t of Army, 157 F. App’x


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  Ms. Bullock’s suggestion in her reconsideration motion that this court’s “guidance” led her to
focus her summary judgment briefing on the issue of “actual settlement authority” – rather than
the other arguments raised by the government – is unsupported. Mot. for Recons. at 1. As
discussed above, the government expressly raised the argument regarding the Army and EEOC
regulations in its cross motion for summary judgment, but Ms. Bullock failed to address that
argument.
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         Case 1:17-cv-00445-NBF Document 84 Filed 11/08/19 Page 5 of 5



295 (Fed. Cir. 2005); Gray v. Dep’t of Defense, 91 F. App’x 137 (Fed. Cir. 2004)). Ms.

Bullock does not address these cases in her motion for reconsideration. Her general

contention that other courts in other circumstances have enforced oral contracts, see, e.g.,

Mot. for Recons. at 6 (citing United States v. Winstar Corp., 518 U.S. 839, 895 (1996)

(addressing the “sovereign acts doctrine”)), are not relevant where the Federal Circuit has

identified the limited circumstances when it will accept an oral settlement agreement

involving an employment dispute and the subject facts do not match those circumstances.

       For these reasons, the court DENIES Ms. Bullock’s motion for reconsideration.


    IT IS SO ORDERED.

                                                           s/Nancy B. Firestone
                                                           NANCY B. FIRESTONE
                                                           Senior Judge




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